Case 7:19-cv-03882-VB Docume 4 fed (04 ek 49) Vee edote
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Cham! sf Vincent L.

UNITED STATES DISTRICT court
SOUTHERN DISTRICT OF NEW YORK

 

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GERALDO MENA, ; ae

Plaintiff, : : oe ERNE: VT
v. ORDER © Lor [ro
COMMISSION HEARING OFFICER GUTWEIN ©: 19 CV 3882 (VB)
and MARYANN HOLLAND, ;

Defendants.

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On September 8, 2020, the Court issued an Opinion and Order in this case, granting in
part and denying in part defendants’ motion to dismiss. (Doc. #26). That same day, the Court
scheduled an initial case management and scheduling conference in this matter for October 21,
2020, at 2:00 p.m. (Doc. #27). On September 11, 2020, the Court ordered the parties to file on
the ECF docket their proposed Civil Case Discovery Plan and Scheduling Order by October 14,
2020. (Doc. #28), Chambers mailed a copy of these three documents to plaintiff, who is
proceeding pro se and in forma pauperis, at the address on the docket. None of these documents
was returned to the Court as undeliverable.

Defendants’ counsel appeared telephonically for today’s conference. Plaintiff, however,
failed to appear for today’s conference without excuse or explanation.

Accordingly, it is HEREBY ORDERED:

1. The October 21, 2020, conference is adjourned to November 19, 2020, at 3:00
p.m. Plaintiff and counsel for defendants shall attend by calling the following number and
entering the access code when requested:

Number: (888) 363-4749 (toll-free) or (215) 446-3662

Access Code: 1703567

2. If plaintiff fails to appear at the November 19, 2020, teleconference, the

Court will deem plaintiff to have abandoned his case, and will dismiss the case for failure to

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prosecute or comply with Court Orders. See Fed. R. Civ. P. 41(b).

Chambers will mail a copy of this Order to plaintiff at the address on the docket.

Dated: October 21, 2020
White Plains, NY

SO ORDERED;

Vu |

Vincent L. Briccetti
United States District Judge
